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  5   L.L.C. and NagraStar LLC
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  8
                           UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
 10

 11   DISH NETWORK L.L.C. and                     Case No.
 12
      NAGRASTAR LLC,                              PLAINTIFFS’ NOTICE OF
                    Plaintiffs,                   INTERESTED PARTIES
 13

 14          v.
 15   PAUL JIMENEZ,
 16                 Defendant.
 17

 18         In accordance with Federal Rule of Civil Procedure 7.1 and L.R. 7.1-1, the

 19   undersigned, counsel of record for Plaintiffs DISH Network L.L.C and NagraStar

 20   LLC, certifies that the following listed parties may have a pecuniary interest in the

 21   outcome of this case. These representations are made to enable the Court to evaluate

 22   possible disqualification or recusal.

 23         1.     Plaintiff DISH Network L.L.C. is a Colorado limited liability company

 24   with its principal place of business located at 9601 South Meridian Blvd.,

 25   Englewood, Colorado 80112. Plaintiff DISH Network L.L.C.’s sole member is DISH

 26   DBS Corporation, which is wholly owned by DISH Orbital Corporation. DISH

 27   Orbital Corporation is wholly owned by DISH Network Corporation, which is

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  1   publicly owned and traded on the NASDAQ national market under the symbol
  2   “DISH.”
  3         2.    Plaintiff NagraStar LLC is a Colorado limited liability company with its
  4   principal place of business located at 90 Inverness Circle East, Englewood, Colorado
  5   80112. Plaintiff NagraStar LLC’s members are EchoStar Corporation and Nagra
  6   USA, Inc. EchoStar Corporation is publicly owned and traded on the NASDAQ
  7   national market under the symbol “SATS.” Nagra USA, Inc. is wholly owned by
  8   Kudelski SA, a Swiss company listed on the SIX Swiss Exchange under the symbol
  9   “KUD.”
 10   Dated: May 10, 2017
 11                                   Respectfully submitted,
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 13
                                 By: /s/ David A. Van Riper
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